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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF MARYLAND
                                    Greenbelt Division

Kilmar Armando Abrego Garcia, et al.,

                       Plaintiffs,
                                                        Case No.: 8:25-CV-00951-PX
v.

Kristi Noem, et al.,

                       Defendants.


                                     Plaintiffs’ Notice of Filing

       In accordance with the Court’s order today (ECF No. 134), Plaintiffs have filed under seal

the privilege log the Government provided to Plaintiffs in discovery. The privilege log the

Government served on Plaintiffs was a Microsoft Excel file. Plaintiffs converted the privilege log

to PDF for filing with the Court. If the Court would like the Microsoft Excel version, Plaintiffs are

happy to provide it in the manner the Court prefers, either via email or physical media.

Dated: May 13, 2025

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